






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00582-CV






Ricky Thomas Lovell, Appellant


v.


Texas Mutual Insurance, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-09-004116, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Ricky Thomas Lovell filed a docketing statement on September 2, 2011.
We accepted that docketing statement as a bona fide attempt to perfect an appeal.  See Verbburgt v.
Dorner, 959 S.W.2d 615, 616 (Tex. 1997).  In the docketing statement, Lovell stated that he was
appealing from an order of dismissal dated August 16, 2011.  However, upon a review of the clerk's
record, we discovered that the cause had been dismissed for want of prosecution in a blanket order
signed June 13, 2011, and that Lovell had not filed any post-judgment motion that might have
extended his time to file a notice of appeal.  See Tex. R. App. P. 26.1(a).  We therefore asked Lovell
to explain how we might exercise jurisdiction over the appeal.  See Tex. R. App. P. 42.3 (court must
give ten days' notice before issuing involuntary dismissal).  Lovell responded but did not provide
any explanation related to jurisdiction.  Instead, he complained of procedural problems he faced in
the trial court, such as his difficulty having appellee served, a lack of assistance from the trial court,
or errors by the trial court clerk that resulted in some kind of delay.  None of Lovell's statements
provide any basis for our exercise of jurisdiction over the appeal.

	Because Lovell's appeal was filed well beyond thirty days after his case was dismissed
by the trial court and he did not file a motion that would have extended his appellate deadline, we
have no choice but to dismiss the appeal for want of jurisdiction.  Tex. R. App. P. 42.3(a).


						____________________________________

						David Puryear, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed for Want of Jurisdiction 

Filed:   March 13, 2012


